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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                 MIDLAND/ODESSA DIVISION

   JESSIE DE LEON, individually and on           §
   behalf of all others similarly situated,      §
                     Plaintiff,                  §
                                                 §
   v.                                            §      MO:20-CV-00179-DC-RCG
                                                 §
   NORTHERN NATURAL GAS                          §
   COMPANY,                                      §
             Defendant.                          §

                          PRELIMINARY DISCOVERY CONTROL PLAN

    The Preliminary Discovery Control Plan and preliminary scheduling deadlines provided by the
    parties on March 17, 2021 (Doc. 41) are adopted by the Court with modifications to expedite
    the parties’ preliminary discovery timeline. Therefore, the following dates are entered to
    control the course of this case:

1. The parties’ preliminary discovery will run through May 31, 2021. The parties may seek leave
   of court for additional time if scheduling conflicts arise.

2. The parties agree that within 30 days of this Order Defendant will produce:

        a. A list of vendors who provided pipeline inspectors to work on Defendant’s sites during
           the time period March 1, 2018 to present.
        b. Once these third-party vendors are identified, Plaintiff will subpoena the vendors for
           class information, invoices, timesheets, offer letters, and pay records. Defendant shall
           not object to a subpoena in the form agreed upon as Exhibit A.
        c. Master services agreements NNG executed for third-party inspection services during
           the time period March 1, 2018 to present, including any rate sheet (or similar
           document) that states the fee NNG agreed to pay to the vendor for such services.
        d. NNG’s employee handbook.
        e. Offer letters, if any, NNG provided to individual inspectors who worked on its
           premises and who NNG classified as an independent contractor affiliated with a third
           party inspection company.
        f.    Invoices Gas Gathering issued to NNG related to the work performed by Plaintiff or
              any opt-in Plaintiff.
        g. Defendant will produce six invoices from each of its third-party inspection company
           vendors for three Putative Class Members (redacting personal identifying information)
           who worked at some time during the time period March 1, 2019 to March 1, 2021.
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        h. Purchase Orders NNG issued to Gas Gathering related to the work performed by
           Plaintiff or any opt-in Plaintiff.
        i.    NNG’s communications with Plaintiff or any opt-in Plaintiff.

3. Depositions: By agreement of the parties, each side may take up to three (3) depositions
   (including any already taken) during the preliminary discovery period.

4. Deciding the Applicable Definition of Similarly Situated: The parties shall have ten (10)
   days after the close of preliminary discovery to meet, confer, and submit either an agreed
   definition of similarly situated; or if there is a disagreement as to what constitutes similarly
   situated, each party shall submit their own definition for the Court to consider. The Court will
   then rule on the similarly situated definition, if necessary.

5. Notice to Potential Opt-in Plaintiffs and Final Scheduling Order: The Court will address, if
   applicable, notice to potential opt-in plaintiffs and any amendments to the parties’ existing
   scheduling order, if necessary, under separate order.

             It is so ORDERED.

             SIGNED this 26th day of March, 2021.




                                                 RONALD C. GRIFFIN
                                                 UNITED STATES MAGISTRATE JUDGE
